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                                         THE HONORABLE MARSHA J. PECHMAN

                   IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF WASHINGTON
                               AT SEATTLE


UNITED STATES OF AMERICA,
                                               No. CR06-0125-MJP
                       Plaintiff,
                                                ORDER GRANTING
               V.                               MOTION TO CONTINUE PRETRIAL
                                                MOTIONS DEADLINE AND
RYAN BROWN,                                     TRIAL DATE
                       Defendant.



    This matter comes before the Court on a stipulated motion by the defendant, Ryan

Brown, to continue the pretrial motions due date and trial date and the Court having

considered the entirety of the record and files herein, the Court finds as follows:
   1. John Henry Browne and Jessica Riley, attorneys for Ryan Brown, need additional

time to review the discovery to adequately prepare pretrial motions and prepare for trial.

   2. Defense counsel cannot accomplish a complete review of the discovery and

adequately prepare pretrial motions by the original cut-off date. Now, therefore,


       IT IS HEREBY ORDERED that the pretrial motions due date be continued from

May 25, 2006 to August 7, 2006 and the trial date be continued from June 19, 2006 to

September 18, 2006, on the ground that the ends of justice served by a continuance

outweigh the best interest of the public and the defendant in a speedy trial under the

Speedy Trial Act, 18 U.S.C. § 3161, and that the time between the date of this Order and

the new trial date be excludable time under the Speedy Trial Act pursuant to Title 18,

USC Sections 3161(h)(8)(A), 3161(h)(8)(B)(i) and 3161(h)(8)(B)(ii).

       DONE IN OPEN COURT this 6th day of June, 2006.


                               /S/Marsha J. Pechman
                               THE HONORABLE MARSHA J. PECHMAN
                               UNITED STATES DISTRICT JUDGE
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                                             Ryan Brown, represented by:
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